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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:14-cv-03074-CMA-KMT

   JOHANA PAOLA BELTRAN; et al.

                Plaintiffs,

   v.

   INTEREXCHANGE, INC.; et al.

                Defendants.

   ______________________________________________________________________

        DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ OBJECTIONS TO
        MAGISTRATE JUDGE TAFOYA’S ORDER ON NONDISPOSITIVE MATTER [ECF
              NO. 763] UNDER FEDERAL RULE OF CIVIL PROCEDURE 72(A)
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                                  PRELIMINARY STATEMENT

          On Plaintiffs’ telling, Magistrate Judge Tafoya permitted Defendants to withhold a

   “77-page document” under a theory that would insulate the criminal conversations of “La

   Cosa Nostra” from discovery. Pls’ Objections to Magistrate Judge Tafoya’s Order on

   Nondispositive Matter [ECF No. 763] Under Fed. R. Civ. P. 72(A) 1, ECF No. 771

   (“Obj.”). The Magistrate Judge purportedly did so by failing to apply, in Plaintiffs’ words,

   “any coherent legal theory” to a key question presented by Plaintiffs’ motion and by

   confusing state law with federal law. Obj. 9. Plaintiffs also argue that the order relating

   to the document (the “Order”) likewise could insulate “virtually all discussions between a

   trade association and its members” from discovery. Obj. 11.

          In fact, Defendants redacted a small fraction of the document—only 10 of the 77

   pages were redacted at all, and most of those redactions covered only a few lines—and

   submitted the redactions for in camera review. ECF No. 758 (unredacted Alliance notes

   submitted for in camera review). The Magistrate Judge conducted a “careful review” of

   the redactions and found that Defendants and the Alliance were “communicating about

   the current litigation,” “the legal effect of the litigation on themselves,” and “the

   Department of State’s [] position on the central issue in the case.” Order 9. Plaintiffs do

   not challenge those findings here—indeed, they do not even ask this Court to review the

   in camera materials.

          Having ascertained the relevant facts (which are now undisputed), the Magistrate

   Judge conducted an ordinary privilege analysis. Because the communications reflected

   legal advice that Defendants had received from their attorneys, the communications


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   were protected by the attorney-client privilege. Order 9–10. Because Defendants

   shared a common legal interest with the Alliance in the subject matter of the

   communications—namely, retaining the current legal rules concerning the method of

   paying au pair stipends—the disclosure of the information to the Alliance did not waive

   the privilege. Order 10–12. And, because the communications reflected the “mental

   impressions” of counsel and were prepared “in anticipation of litigation,” the

   communications were protected by the work-product privilege. Order 9–10.

          Despite Plaintiffs’ hyperbolic treatment of her analysis, each of the Magistrate

   Judge’s conclusions is amply supported by authorities from inside and outside this

   Circuit, as set forth in greater detail below. Plaintiffs’ objections should be overruled.

                                    STATEMENT OF FACTS

          The Alliance is “an association of 90 nongovernmental organizations comprising

   the international educational and cultural exchange community in the United States.”

   Order 2–3. Au pair sponsor organizations, including most of the Defendants in this

   case, form a 13-member subgroup of the Alliance. Id. at 3. Officers of several

   Defendants serve on the Alliance’s board of directors. Id.

          After Plaintiffs filed this suit, the Alliance hosted discussions with its au pair

   sponsor members, including discussions about this litigation and responses to it. See

   ECF Nos. 715-1 ¶ 4, 715-2 ¶ 3. During these conversations, Defendant members

   discussed advice they had received from their attorneys. See ECF Nos. 715-1 ¶¶ 6–13,

   715-2 ¶ 5. In light of the pending litigation and the character of the discussions,

   participants expected and understood that these conversations would remain


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   confidential and were within the scope of a common interest agreement. Defs.’ Opp’n

   to Pls.’ Mot. to Compel 3, ECF No. 715 (“Opp’n”) (and declarations cited therein).

          Ultimately, Plaintiffs subpoenaed the Alliance. The Alliance produced notes of

   the conversations described above, all of which occurred when this litigation was

   underway. See Opp’n 4–5. Defendants asserted that portions of the notes reflected

   materials protected by the attorney-client privilege and the work-product doctrine, and

   therefore redacted a small fraction of the notes. See ECF Nos. 715-5 (privilege log);

   758 (collecting and displaying redactions to facilitate in camera review).

          Plaintiffs moved to compel production of the unredacted notes. After reviewing

   the notes in camera, the Magistrate Judge denied Plaintiffs’ motion, concluding that the

   redactions reflected information that was “quite obviously ‘based on attorney advice.’”

   Order 9. The redactions “uniformly involved the mental impressions, conclusions,

   opinions, or legal theories of the speaking Defendant representative, often directly

   attributable to the party’s received legal advice.” Id. at 9–10. All of the information had

   been “prepared in anticipation of litigation by or for a party.” Id. at 10. The Magistrate

   Judge therefore properly concluded that the redactions reflected work product and

   information protected by the attorney-client privilege, and held that all of the redactions

   were proper. Plaintiffs have objected.

                                          ARGUMENT

   I.     LEGAL STANDARD

          “A litigant who seeks to overturn a magistrate’s discovery order bears a heavy

   burden.” Wallin v. Alfaro, No. 03-cv-00281, 2005 WL 2125224, at *5 (D. Colo. Sept. 2,


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   2005). Where a party objects to a magistrate judge’s nondispositive order, the District

   Court must “modify or set aside” parts of the order only where they are “clearly

   erroneous or is contrary to law.” Fed. R. Civ. P. 72(a). The “clearly erroneous”

   standard “requires that the reviewing court affirm unless it on the entire evidence is left

   with the definite and firm conviction that a mistake has been committed.” Ocelot Oil

   Corp. v. Sparrow Indus., 847 F.2d 1458, 1464 (10th Cir. 1988) (internal quotations

   omitted). The district court may conduct a “plenary review as to matters of law,” but the

   Court should set aside a Magistrate’s order “only if he or she applied the wrong legal

   standard or applied the appropriate legal standard incorrectly.” Pertile v. GM, LLC, No.

   15-cv-0518, 2017 WL 3767780, at *1 (D. Colo. Aug. 31, 2017) (internal quotations

   omitted). Ultimately, “the court will overrule the magistrate judge’s determination only if

   his discretion is abused.” Id. (internal quotations omitted).

   II.    THE MAGISTRATE JUDGE PROPERLY CONCLUDED THAT THE
          REDACTIONS ARE PROTECTED BY THE ATTORNEY-CLIENT PRIVILEGE.

          The Magistrate Judge correctly held that the redactions contained privileged

   attorney-client communications. The redacted materials reflected confidential legal

   advice given to Defendants by their counsel. The privilege therefore applies, and

   Plaintiffs do not seriously contend otherwise. The real question presented by Plaintiffs’

   motion (and objections) is whether the Defendants waived the privilege by discussing

   that legal advice with each other and employees of the Alliance. They did not. As the

   Magistrate Judge properly held, disclosure of privileged communications to a third party

   with a common interest does not constitute a waiver of the privilege.



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          A.     Applicable Law

          “The attorney-client privilege is the oldest of the privileges for confidential

   communications known to the common law.” Upjohn Co. v. United States, 449 U.S.

   383, 389 (1981). The privilege protects (i) “confidential communications by a client to

   an attorney made in order to obtain legal assistance” and (ii) communications “from

   attorney to client” that constitute legal advice or “tend directly or indirectly to reveal the

   substance of a client confidence.” In re Grand Jury Proceedings, 616 F.3d 1172, 1182

   (10th Cir. 2010) (quoting United States v. Defazio, 899 F.2d 626, 635 (7th Cir. 1990)).

          The disclosure of privileged information to someone other than attorney or client

   can result in a waiver of the privilege. When the disclosure is made to a party with a

   “common interest,” however, the “‘common interest’ doctrine provides an exception to

   waiver because disclosure advances the representation of the party and the attorney’s

   preparation of the case.” In re Qwest Comm’s Int’l, 450 F.3d 1179, 1195 (10th Cir.

   2006). The common-interest doctrine applies if (1) the relevant communications were

   made “in the course of a joint-defense effort” and (2) the communications “were

   designed to further that effort.” See id. (internal quotation marks omitted). Parties may

   engage in a joint-defense effort regarding any legal issue as to which they share an

   “identical legal interest.” See Cejka v. Vectrus Sys. Corp., No. 15-cv-02418, 2017 U.S.

   Dist. LEXIS 117419, at *8 (D. Colo. July 27, 2017) (attached as Exhibit A); see also

   Schaeffler v. United States, 806 F.3d 34, 42 (2d Cir. 2015) (applying common interest

   doctrine where parties share “a common legal interest or strategy in obtaining a

   particular legal goal whether or not litigation is ongoing”). This standard is satisfied if


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    the party asserting the privilege shows that it made the communication “in pursuit of a

    joint strategy.” Pac. Pictures Corp. v. United States District Court, 679 F.3d 1121, 1129

    (9th Cir. 2012); see Schaeffler, 806 F.3d at 42; Violetta v. Steven Bros. Sports Mgmt.

    LLC, No. 16-1193, 2017 WL 3675090, at *13 (D. Kan. Aug. 24, 2017) (“The relevant

    question with which the Court reviews the communications is this: were Defendants and

    their third-party insurers communicating to formulate a common legal strategy . . . .”).

           B.     The Magistrate Judge Correctly Concluded that the Communications
                  Were Privileged and the Privilege Was Not Waived.

           The Magistrate Judge engaged in a straightforward application of the law and

    reached the correct conclusion. Again, Plaintiffs do not seriously argue that the

    redacted material was not privileged, nor could they.1 The Magistrate Judge concluded

    that the communications concerned this litigation, “the legal effect” of the litigation, and

    the Department of State’s “position on the central issue in the case.” Order 9. The

    information “was quite obviously based on attorney advice” and was “often directly

    attributable” to legal advice that Defendants had received from their counsel. Order 9–

    10 (internal quotation marks omitted). The redactions thus reflected confidential

    communications between Defendants and their attorneys and were therefore privileged.

    Order 9–10; In re Grand Jury Proceedings, 616 F.3d at 1182.
    1
      Plaintiffs make only a cursory suggestion to the contrary. Obj. 15. Apparently,
    Plaintiffs understand Magistrate Judge Tafoya to have held that Defendants’
    communications with the Alliance were themselves protected by the attorney-client
    privilege. See id. Insofar as Plaintiffs developed an argument on this score at all, it is
    wrong. See, e.g., Wall v. Astrue, 561 F.3d 1048, 1065 (10th Cir. 2009) (holding
    argument was waived where it was not supported by “developed argumentation”). As
    Magistrate Judge Tafoya explained, the communications reflect Defendants’ privileged
    communications with their counsel. The question presented is whether the disclosure of
    those communications to the Alliance waived the privilege. See Order 4–5, 9–10.

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           Having concluded that the redacted materials were privileged, the Court properly

    analyzed whether the privilege was waived by Defendants’ discussions in the presence

    of Alliance employees, and properly concluded that it was not. Order 10. Defendants

    share a common legal interest with the Alliance. In particular, as the Magistrate Judge

    held, the Alliance and the Defendants have precisely the same legal goal: “to retain the

    current method of paying stipends.” Id. at 11. That goal requires Defendants to prevail

    in this case—and gives the Alliance a substantial interest in seeing that they do so—but

    it also requires the Defendants and the Alliance to coordinate their legislative and

    regulatory lobbying efforts. See id. at 10.

           That is why Defendants’ and the Alliance’s shared “lobbying efforts were laid out

    side-by-side with tactics to pursue in the litigation, as well as the effect certain DOS

    positions might have on the current litigation.” Order 10 (internal footnote omitted).

    Indeed, the Magistrate Judge opined that Defendants’ interests were so precisely

    aligned with the Alliance’s that the Alliance could itself be held liable if Defendants lose.

    Id. at 12. Because Defendants and the Alliance pursued a shared legal strategy to

    achieve their common interest, any or all of the interests identified by Magistrate Judge

    Tafoya suffice to trigger the common-interest doctrine and prevent waiver. See, e.g.,

    Schaeffler, 806 F.3d at 42 (holding doctrine applied where parties employed common

    “strategy in obtaining a particular legal goal”); Violetta, 2017 WL 3675090, at *13, *15–

    16 (asking whether defendants and third-party were communicating “to formulate a

    common legal strategy” and holding they were as to certain communications); Cejka,




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    2017 U.S. Dist. LEXIS 117419, at *12 (applying doctrine where one party faced

    “potential litigation” but was not sued).

           C.     Plaintiffs’ Arguments Are Unavailing.

           The gravamen of Plaintiffs’ objections to the Magistrate Judge’s disciplined

    analysis is two-fold: first, they claim that the Magistrate Judge invented the common

    interests she cited from whole-cloth; and second, they argue that those common

    interests fail as matter of law. Obj. 7–12. Neither argument withstands scrutiny.

           The first half of Plaintiffs’ objections overlooks important parts of Defendants’

    arguments. They claim that “[t]he only ‘common interest’ Defendants purported to share

    with the Alliance was a shared desire ‘to prevail’ in the litigation.” Obj. 7. Not so. From

    start to finish, Defendants’ claims of privilege reflected that the outcome of this litigation

    is inextricably bound up with the legal regime that governs the method of determining

    the au pair stipend. That is clear from Defendants’ privilege log, ECF No. 715-5 at 3

    (repeatedly listing “[d]iscussion of regulatory advocacy in connection with litigation

    status and posture”), the briefing, ECF No. 715 at 14 (arguing Defendants’ “discussions

    about this lawsuit” and “about possible legislative solutions to issues raised in this

    lawsuit” are common legal interests and not business interests) (emphasis omitted), and

    the hearing before Magistrate Judge Tafoya, see, e.g., ECF No. 772-4 at 28:12–24

    (explaining Defendants and Alliance share common interest in seeing that program

    survives, which it would not if 50 state minimum wage laws applied to au pairs).2


    2
     Without explanation, Plaintiffs dismiss the shared interest in the survival of the au pair
    program as a “commercial interest.” Obj. 7. A shared legal interest may be motivated
    by financial concerns, but that in no way detracts from the fundamentally legal character
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    Defendants thus have consistently pointed to the relationship between this litigation,

    their regulatory efforts, and the overarching common interest that the Magistrate Judge

    cited—“retain[ing] the current method of paying stipends.” Order 11.

           The second half of Plaintiffs’ objections is similarly off-target. Plaintiffs claim that

    the common interests the Magistrate Judge identified fail as a matter of law. Obj. 8–9.

    This argument misstates the law of this Circuit, mischaracterizes the Court’s decision,

    and invites this Court to err.

           Plaintiffs begin by offering a hyper-technical parsing of what it means for parties

    to share an “identical legal interest.” According to Plaintiffs, the Magistrate Judge

    improperly required that the parties share a “common enterprise” rather than an

    “identical interest.” Obj. 9. The Court did no such thing. On the contrary, she held as

    follows: “In its independent efforts to retain the current method of paying stipends, the

    Alliance is acting in complete conformance with the position taken by the sponsor

    Defendants and therefore their interests are identical.” Order 11 (emphasis added).

           Moreover, courts in this Circuit and elsewhere routinely test for whether the

    common-interest doctrine applies by asking whether the parties pursued a “common

    legal strategy.” See, e.g., In re Qwest, 450 F.3d at 1195 (asking whether

    communications were made to further joint-defense effort); Schaeffler, 806 F.3d at 42

    (holding doctrine applied where parties employed common “strategy in obtaining a

    particular legal goal”); Pac. Pictures Corp., 679 F.3d at 1129 (doctrine applies if parties


    of the interest. Schaeffler, 806 F.3d at 42 (“[T]hat the Consortium stood to lose a lot of
    money (along with appellants) if appellants’ tax arguments failed is not support for the
    position that no common legal interest existed.”) (emphasis added).

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    “make the communication in pursuit of a joint strategy”); Violetta, 2017 WL 3675090, at

    *13 (asking whether defendants and third-party were communicating “to formulate a

    common legal strategy”).3 The Magistrate Judge’s analysis, conclusions, and the cases

    she cited are wholly consistent with such an approach.4 Order 4–5; 9–12.

           Plaintiffs then proceed to stake out a novel and unsupported legal position: that

    parties whose interests are so closely aligned that they might be co-defendants cannot

    invoke the common-interest doctrine. Obj. 10. Courts in this Circuit, commentators,

    and the weight of authority from across the country all point to the opposite conclusion.

    See, e.g., Cejka, 2017 U.S. Dist. LEXIS 117419, at *12 (holding doctrine applied where

    one party faced “potential litigation” but was not sued); United States v. BDO Seidman

    LLP, 492 F.3d 806, 815-16, 816 n.6 (7th Cir. 2007) (observing “the weight of authority

    favors our conclusion that litigation need not be actual or imminent” for the doctrine to

    apply, and collecting cases); Restatement (Third) of the Law Governing Lawyers § 76(1)

    (2000) (explaining doctrine can apply to a “nonlitigated matter”).



    3
      Lest Plaintiffs object that these cases applied something less than the “identical
    interest” standard, their lead cases from this Circuit all cited Pacific Pictures Corp. with
    approval. United States v. Hudson, No. 13-20063-01, 2013 WL 476804, at *2 (D. Kan.
    Sept. 5, 2013) (citing Pacific Pictures for proposition that “shared desire to see same
    outcome in legal matter is insufficient to establish [a] ‘common interest’”); Hedquist v.
    Patterson, 215 F. Supp. 3d 1237, 1246 (D. Wyo. 2016) (same).
    4
      Plaintiffs’ complaint that the Magistrate Judge improperly relied on state law is
    therefore beside the point. See Obj. 8–9. The Magistrate Judge correctly applied
    “federal common law,” with citation to state law that is persuasive, not controlling. Order
    6. In any event, Plaintiffs fail to identify any meaningful difference between the state-
    law cases the Magistrate Judge cited and the federal standards recited above. See
    Obj. 8–9 (attempting to distinguish the cases the Magistrate Judge cited on other
    grounds and never explaining how or whether they depart from federal law).

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           The Magistrate Judge’s conclusions and the common interests she identified

    accord with federal law from this Circuit and elsewhere. Her ruling should be affirmed.5

    III.   THE MAGISTRATE JUDGE PROPERLY CONCLUDED THAT THE
           REDACTIONS ARE PROTECTED WORK PRODUCT.

           The Magistrate Judge’s decision should be affirmed for a second, independent

    reason: she correctly held that the redactions reflect work product. The redacted

    materials contained legal advice and the mental impressions of Defendants and their

    counsel, which were prepared in connection with this ongoing litigation.

           A.      Applicable Law

           The Supreme Court established the work-product doctrine in Hickman v. Taylor,

    329 U.S. 495 (1947). “At its core, the work-product doctrine shelters the mental

    processes of the attorney, providing a privileged area within which he can analyze and

    prepare his client’s case.” In re Qwest, 450 F.3d at 1186 (internal quotations omitted).

    It is an “intensely practical [doctrine], grounded in the realities of litigation in our

    5
      Plaintiffs warn that any ruling in Defendants’ favor would “massively expand[] the
    common interest doctrine,” because Defendants share their common interest with a
    trade association. Obj. 11. As Plaintiffs’ own citations demonstrate, cases involving
    trade associations and privilege—like every other kind of case—must be judged on their
    own facts. ECF No. 719 at 12 (citing In re Plasma-Deriv. Protein Therapies Antitrust
    Litig., No. 09-cv-7666, 2013 WL 791432, at *3 (N.D. Ill. Mar. 4, 2013) (holding whether
    communications with trade association are privileged must be evaluated on a “case-by-
    case basis”)). Courts therefore routinely apply the common interest doctrine in the
    trade-association context where, as here, the claim is legitimate. See, e.g., Broessel v.
    Triad Guar. Ins. Corp., 238 F.R.D. 215, 220 (W.D. Ky. 2006) (applying common interest
    doctrine in trade-association context); United States v. Ill. Power Co., No. 99-cv-0833,
    2003 WL 25593221, at *4 (S.D. Ill. Apr. 24, 2003) (holding “no waiver of privilege
    through disclosure to third parties because [the trade association’s] members were
    joined in a common interest in current and potential litigation”); cf. United States v. Ohio
    Edison Co., No. C2-99-1181, 2003 U.S. Dist. LEXIS 25029, at *11 (S.D. Ohio Jan. 6,
    2003) (applying attorney-client privilege to communications with a trade association)
    (attached as Exhibit B).

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    adversary system.” United States v. Nobles, 422 U.S. 225, 238 (1975). Work product

    may be created by a party as well as its attorney or other agent. Fed. R. Civ. P.

    26(b)(3)(A).

           If work product was prepared in connection with anticipated or ongoing litigation,

    it is protected regardless of whether it is tangible or intangible. Leprino Foods Co. v.

    DCI, Inc., No. 13-cv-02430, 2014 WL 2922667, at *4 (D. Colo. June 27, 2014)

    (“Hickman provides work-product protection for intangible work product independent of

    Rule 26(b)(3), which applies only to documents and tangible things”) (citing United

    States v. Deloitte, LLP, 610 F.3d 129, 136 (D.C. Cir. 2010)); Nat’l Union Fire Ins. Co. v.

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    (explaining work-product doctrine applies to materials prepared “to assist in anticipated

    or ongoing litigation”). Likewise, the protection does not depend on “who created the

    document or how they are related to the party asserting work-product protection.”

    Deloitte, 610 F.3d at 136. Ultimately, the questions are whether the document was

    prepared in connection with anticipated or pending litigation (Fed. R. Civ. P.

    26(b)(3)(A)), and, for the higher-level attorney work product, whether the document

    contains “the thoughts and opinions of counsel.” Id. That a third party prepared a

    document thus “does not exclude the possibility” that it contains another party’s work

    product. Id.

           B.      The Magistrate Judge Correctly Concluded that the Communications
                   Are Protected as Work Product.

           Again, the Magistrate Judge correctly applied the law to this case. After

    reviewing the materials in camera, she found that: “the redacted information uniformly

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    involved the mental impressions, conclusions, opinions, or legal theories of the

    speaking Defendant representative, often directly attributable to the party’s received

    legal advice.” Order 9–10 (emphases added). The documents thus reflected the

    mental impressions of Defendants and (more often) their counsel, which are protected if

    they were prepared in anticipation of litigation. See Deloitte, 610 F.3d at 136; Fed. R.

    Civ. P. 26(b)(3)(A) (work product may be prepared by a party as well as its counsel).

           The Magistrate Judge therefore examined whether the mental impressions had

    been formed “in anticipation of litigation by or for a party.” Order 9–10; see Leprino

    Foods Co., 2014 WL 2922667, at *4. She concluded that the limited redactions from

    the 77-page collection of notes had been formed for this purpose. Order 10. Indeed,

    they concerned not merely anticipated litigation, but this case in particular—which was

    pending when the Defendants received the legal advice reflected in the notes. See

    Order 3, 9–10 (observing notes concerned “the current litigation,” “the legal effect of the

    litigation,” and “the central issue in this case,” and all of the redactions are “dated after

    the filing of this litigation”). In other words, Plaintiffs are not merely seeking materials

    that were prepared in anticipation of possible litigation; they are trying to obtain

    Defendants’ legal advice that was delivered in connection with this case. The

    Magistrate Judge correctly held that those mental impressions are work product.

    Leprino Foods Co., 2014 WL 2922667, at *4; Deloitte, 610 F.3d at 136.

           Plaintiffs resist Magistrate Judge Tafoya’s conclusion for three reasons, none of

    which justifies reversal. First, Plaintiffs contend that the redacted materials cannot be

    work product because the “only documents or tangible things at issue here” were


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    created by the Alliance, not the Defendants or their counsel. Obj. 12. It is true that the

    Alliance created the notes, but also entirely beside the point. Although the notes were

    physically created by a third party, they reflect Defendants’ and their attorneys’ mental

    impressions. Order 9–10. Those mental impressions are protected regardless of who

    produced the document. Deloitte, 610 F.3d at 136 (holding “the question is not who

    created the document or how they are related to the party asserting work-product

    protection, but whether the document contains work product”).

           Plaintiffs’ second argument reveals that this dispute is really about whether

    Defendants waived the work-product protection, not whether it applies. According to

    Plaintiffs, Defendants “waived any protection” when they “chose to share legal advice in

    the presence of the Alliance.” Obj. 13. No citation supports that contention, because

    none exists. Unlike the attorney-client privilege, “work product immunity is not

    automatically waived by disclosure of protected material to third parties.” L-3 Comm’s

    Corp. v. Jaxon Eng’g & Maint., Inc., No. 10-cv-02858, 2014 WL 3732943, at *6 (D. Colo.

    July 29, 2014) (internal quotations omitted); 8 CHARLES A. W RIGHT & ARTHUR R. MILLER

    FED. PRACTICE & PROCEDURE § 2024 (3d ed. 2017). Work-product protection is waived

    only if the disclosure “substantially increase[s] the opportunities for potential adversaries

    to obtain the information.” W RIGHT & MILLER § 2024. Plaintiffs do not—and cannot—

    argue that disclosure to the Alliance substantially increased the likelihood of disclosure

    to an adverse party. See Obj. 12–13. That failure dooms Plaintiffs’ argument.

           Plaintiffs’ final argument combines caricature with the failings of the prior two.

    According to Plaintiffs, the Magistrate Judge erred by adopting Defendants’ suggestion


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    that “employees create work product if what they say or do has some connection—any

    connection—to litigation.” Obj. 13–14. By so holding, Plaintiffs claim the Magistrate

    Judge extended Rule 26 “far beyond the ‘agents’ listed in the Rule” and transformed

    “every waiver of the privilege into an invocation of work product protection.” Obj. 14.

           That simply is not so. First, Defendants did not merely discuss “litigation”; they

    discussed information that was “quite obviously based on attorney advice” and

    counsel’s “mental impressions” to formulate a joint legal strategy concerning this very

    lawsuit. Order 9. Second, Rule 26 itself contemplates that parties—like Defendants—

    as well as their attorneys can create work product. Fed. R. Civ. P. 26(b)(3)(A). Third,

    Plaintiffs’ arguments about waiver reflect the same misunderstanding described above.

    The Magistrate Judge thus reached the correct conclusion, and none of Plaintiffs’

    arguments provides any basis for reversing her reasoned decision.

                                         CONCLUSION

           For all of the foregoing reasons, Plaintiffs’ objections should be overruled and the

    order of the Magistrate Judge affirmed.

    Dated: January 10, 2018                     Respectfully submitted,

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                             CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on January 10, 2018, I caused to be electronically filed the
    foregoing DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
    OBJECTIONS TO MAGISTRATE JUDGE TAFOYA’S ORDER ON NONDISPOSITIVE
    MATTER [ECF NO. 763] UNDER FEDERAL RULE OF CIVIL PROCEDURE 72(A) with
    the Clerk of Court using the CM/ECF system, which will send notification of such filing to
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